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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                         FEE APPLICATION COVER SHEET FOR THE
                        PERIOD APRIL 1, 2022 THROUGH APRIL 30, 2022

     Debtor: LTL Management LLC                              Applicant: Orrick, Herrington & Sutcliffe
                                                             LLP
     Case No.: 21-30589-MBK                                  Client: LTL Management LLC

     Chapter: 11                                             Case Filed: October 14, 2021 (the “Petition
                                                             Date”)


                                                 SECTION 1
                                               FEE SUMMARY

      Monthly Fee Application No. 3                  or     Final Fee Application

 Summary of Amounts Requested for the Period from April 1, 2022 through April 30, 2022
 (the “Third Statement Period”).

     Total Fees:                               $94,967.851
     Total Disbursements:                           $0.00
     Total Fees Plus Disbursements:            $94,967.85
     Minus 20% Holdback of Fees:               $18,993.57
     Amount Sought at this Time:               $75,974.28

                                                        FEES                         EXPENSES

     Total Previous Fees Requested:                     $993,218.50                  $25,848.83
     Total Fees Allowed to Date:                        $0.00                        $0.00
     Total Retainer (If Applicable):                    $0.00                        $0.00
     Total Holdback (If Applicable):                    $198,643.70                  $0.00
     Total Received by Applicant:                       $0.00                        $0.00




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   The total amount of fees and expenses incurred by Orrick during the Third Statement Period for matters in which
 it is solely representing the Debtor (invoice number 2023444) or is representing the Debtor jointly with Johnson &
 Johnson (“J&J”) (invoice number 2023445LTL accounting for the portion allocated to the Debtor) is $94,967.85. Of
 this amount, as set forth in this fee statement, Orrick is seeking payment in the amount of $75,974.28 in fees from
 the Debtor. Orrick’s fees for matters in which it is solely representing J&J are not reflected in this monthly fee
 statement.


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   COMPENSATION BY: PROFESSIONAL APRIL 1, 2022 THROUGH APRIL 30, 2022

 The attorneys who rendered professional services in these chapter 11 case during the Third
 Statement Period are:

 Invoice 2023444 (for services rendered on behalf of the Debtor):


  Name of
                         Year                                   Hourly        Total
  Professional:                          Department                                     Total Fees
                        Admitted                                 Rate         Hours
  Partners
                                                                              Billed
                                          Intellectual
  Simpson, Lisa T.        1994                                  $897.00        2.80      $2,511.60
                                           Property
  Grand Total                                                  $1,269.00       2.80      $2,511.60



  Name of
                         Year                                   Hourly        Total
  Professional:                          Department                                     Total Fees
                        Admitted                                 Rate         Hours
  Associates
                                                                              Billed
  Weber, Lauren                       Supreme Court and
                          2017                                  $604.00        0.10          $60.40
  A.                                      Appellate
  Yiu, Vincent
                          2015           Restructuring          $678.00       21.40     $14,509.20
  Chanhong
  Grand Total                                                   $678.00       21.50     $14,569.60



                                         Total Hours
  Professionals       Blended Rate                             Total Fees
                                            Billed
  Partner                $897.00                               $2,511.60
                                             2.80
  Associate              $677.66                               $14,569.60
                                             21.50
  Grand Total            $702.93                               $17,081.20
                                             24.30



 Invoice 203445LTL (for services rendered on behalf of the Debtor and J&J):

  Name of                                                                         Total
                            Year                                   Hourly
  Professional:                             Department                            Hours           Total Fees
                           Admitted                                 Rate
  Partners                                                                        Billed
                                         Supreme Court and
  Loeb, Robert               1987                                  $919.00                        $46,317.60
                                             Appellate                             50.40
  Rosenkranz,                            Supreme Court and
                             1986                                 $1,291.00                       $3,227.50
  Joshua                                     Appellate                                2.50
                                         Supreme Court and
  Scotten, Naomi J.          2011                                  $807.00                        $2,017.50
                                             Appellate                                2.50


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  Grand Total                                                                    $51,562.60
                                                                        55.40


  Name of                                                               Total
                        Year                                Hourly
  Professional:                         Department                      Hours    Total Fees
                       Admitted                              Rate
  Associates                                                            Billed
                                      Supreme Court and
  Atkins, Siobhan        2014                              $731.00                $1,900.60
                                          Appellate                      2.60
  Barnard-Yanni,                      Supreme Court and
                         2015                              $651.00                $6,835.50
  Alyssa                                  Appellate                     10.50
                                      Supreme Court and
  Bhatti, Upnit K.       2015                              $651.00               $26,886.30
                                          Appellate                     41.30
  Carter-Oberstone,                   Supreme Court and
                         2014                              $672.00               $10,953.60
  Max                                     Appellate                     16.30
                                      Supreme Court and
  Meyer, Paul David      2014                              $672.00               $18,076.80
                                          Appellate                     26.90
                                      Supreme Court and
  Quilici, Jeff          2012                              $722.00               $11,263.20
                                          Appellate                     15.60
                                      Supreme Court and
  Shaw, Geoffrey         2016                              $628.00               $28,197.20
                                          Appellate                     44.90

  Grand Total                                                                    $104,113.20
                                                                        158.10


  Name of                                                   Total
                                                                        Total
  Professional:       Department        Hourly Rate         Hours
                                                                        Fees
  Paralegals                                                Billed
                       Supreme
  Gerrish, Amy S.      Court and          $325.00                       97.50
                                                             0.30
                       Appellate
  Grand Total                                                           97.50
                                                             0.30



                                        Total Hours
  Professionals       Blended Rate                        Total Fees
                                           Billed
  Partner               $930.73                           $51,562.60
                                            55.40
  Associate             $658,53                           $104,113.20
                                           158.10
  Paralegal             $325.00                             $97.50
                                            0.30
   Total                $728.59                           $155,773.30
                                           213.80
  Portion Billed to
                                                          -77,886.65
  J&J
  Grand Total                                             $77,886.65




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                                          SECTION II
                                      SUMMARY OF SERVICES

                        COMPENSATION BY WORK TASK CODE FOR SERVICES

                       RENDERED BY ORRICK, HERRINGTON & SUTCLIFFE LLP
                     FOR THE PERIOD APRIL 1, 2022 THROUGH APRIL 30, 2022

                        Invoice 2023444 (for services rendered on behalf of the Debtor):

DESCRIPTION                                                         HOURS                       FEES
Fee/Employment Applications                                           23.70                 $16,572.30
Litigation                                                             0.60                   $508.90
Total Fees Requested                                                  24.30                 $17,081.20


           Invoice 2023445LTL (for services rendered on behalf of the Debtor and J&J)

DESCRIPTION                                                         HOURS                        FEES
Litigation                                                           213.80                $155,773.30
Portion Billed to J&J                                                                       (77,886.65)
Total Fees Requested                                                                         $77,886.65




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                                 SECTION III
                           SUMMARY OF DISBURSEMENTS

               DISBURSEMENT SUMMARY BY ORRICK, HERRINGTON & SUTCLIFFE LLP
                   FOR THE PERIOD APRIL 1, 2022 THROUGH APRIL 30, 2022



  DISBURSEMENTS                                                     AMOUNT
  DISBURSEMENTS TOTALS                                              $0.00




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                                                 SECTION IV
                                                CASE HISTORY

     (1) Date Case Filed                                        October 14, 2021

     (2) Chapter Under Which Case                               Chapter 11
     Commenced:
                                                                April 6, 2022 nunc pro tunc to
     (3) Date of Retention:                                     October 14, 2021 [Dkt. 1993] (the
                                                                “Retention Order”)2

     (4) Summarize in brief the benefits to the                 SEE BELOW
     estate and attach supplements as needed

 During the Third Statement Period, Orrick, Herington & Sutcliffe LLP (“Orrick”) provided the
 following services to the Debtor including, but not limited to, the following:

 Fee/Employment Applications

          Reviewed and revised invoices for the period from October 2021 to March 2022.

          Drafted consolidated monthly fee statements covering the same period.

 Litigation

          Drafted and revised briefs in multiple appeal proceedings and attended to procedural
           issues and court communication, such as the filings of extension motion and letter
           addressed to the court.

          Reviewed and analyzed pleadings, and performed associated legal research and record
           review.

          Communicated and coordinated with internal team and co-counsel on case status and
           strategy.

 (5) Anticipated distribution to creditors:

     (a) Administrative expense                              Unknown at this time.

     (b) Secured creditors                                   Unknown at this time.

     (c) Priority creditors                                  Unknown at this time.

     (d) General unsecured creditors                         Unknown at this time.



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           The Retention Order is attached hereto as Exhibit A.

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  (6) Final disposition of case and percentage          Final dividend percentages are unknown at
  of dividend paid to creditors:                        this time.



 I certify under penalty of perjury that the above is true.



 Date: June 15, 2022                                     /s/ Robert Loeb




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